                           UNITED STATES DISTRICT COURT
                         FOR THE NOTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

Larry D. Reid, et al                          )              Case No. 1:21-cv-00991-JG
                                              )
                                              )
                                              )
                                              )
               Plaintiffs,                    )              Judge: James S. Gwen
                                              )
        -vs-                                  )
                                              )     Defendant’s Answer to the Complaint
                                               )           And
                                               )    Defendant’s Counter Claim
                                              )
Darryl Moore                                  )
                                              )
              Defendant.                      )
Counter Claim Against Plaintiff               )
       vs.                                    )
Larry D Reid et al.                           )
225 Lake Summit View                          )
Atlanta GA 30342                              )
                                              )



        Now comes the defendant Darryl Moore by and thru Attorney Fred D. Middleton and

Files this Answer to the Complaint herein and answers the Complaint of Plaintiff by generally
denying all the allegations in the Complaint except as may be specifically admitted and
referring to paragraphs as numbered in Plaintiff’s Complaint.
    Answering Plaintiff’s opening allegations, Defendant is without sufficient knowledge to

either admit or deny the Plaintiff’s allegations and therefore denies same and leaves Plaintiff to

its proofs.


    1. The Defendant denies the allegations in Paragraph 1 that state he has persistently,

        deliberately, and unprovoked initiated a campaign of online defamation and harassment

        against the Plaintiff and his businesses. Defendant seeks the same in a counter lawsuit for

1
       Defamation, Slander, and Libel arising from being falsely accused of plotting to murder

       the Plaintiff.

    2. The Defendant denies the allegations in Paragraph 2 that state he was abusive, vitriolic,

       and threatening at any time towards the Plaintiff.

    3. The Defendant denies the allegations in Paragraph 3.

    4. The Defendant does not have sufficient knowledge to agree with or deny the allegations

       Paragraph 4.

    5. The Defendant does not have sufficient knowledge to agree with or deny the allegations

       in Paragraph 5.

    6. The Defendant admits to this fact.

    7. The Defendant does not have sufficient knowledge to agree with or deny the allegations

       in Paragraph 7.

    8. The Defendant admits to this fact.

    9. The Defendant disagrees with the statement in Paragraph 9. Reid has claimed on several

       occasions that he stopped being a minister but, in these documents, and past depositions,

       he has stated he is still a pastor.

    10. The Defendant denies the allegations in Paragraph 10.

    11. The Defendant denies the allegations in Paragraph 11 and disagrees with the statement by

       Reid.

    12. The Defendant denies the allegations in Paragraph 12 and disagrees with this statement.

    13. The Defendant does not have sufficient knowledge to agree with or deny the information

       in Paragraph 13.




2
    14. The Defendant does not have sufficient knowledge to agree with or deny the information

       in Paragraph 14.

    15. The Defendant does not have sufficient knowledge to agree with or deny the information

       in Paragraph 15.

    16. The Defendant does not have sufficient knowledge to agree with or deny the information

       in Paragraph 16.

    17. The Defendant does not have sufficient knowledge to agree with or deny the information

       in Paragraph 17.

    18. The Defendant agrees with Paragraph 18.

    19. The Defendant denies the allegations in Paragraph 19.

    20. The Defendant does not have sufficient knowledge to agree with or deny the allegations

       in Paragraph 20.

    21. The Defendant denies the allegations in Paragraph 21 that he spread false and defamatory

       information about the Plaintiff.

    22. The Defendant agrees that Georgia counsel emailed him a Cease-and-Desist letter. Moore

       responded stating he was not publishing false or defamatory statements regarding Reid.

       Moore further stated that his reports about Reid come from statements that Reid makes.

    23. The Defendant only received one cease and desist letter via email.

    24. The Defendant agrees videos have been made discussing Reid but none of the videos in

       question defame Reid. Reid ruins his own reputation via his videos and post on social

       media. Guest have appeared on occasion to discuss their personal dealings with Reid as

       far as paying him “donations” and “counseling” fees.




3
    25. The Defendant admits making short advertisement videos to encourage views for his

       longer videos that will appear later. This is a standard practice by online commentators.

       The Defendant does deny providing false facts or evidence about Reid.

    26. The Defendant admits every statement in Paragraph 26 except the statement by Reid

       asserting that Moore and his colleagues purport themselves to have a “special interest” or

       “expertise” in online sex crimes. This is not factual. The members of “The A-Team” did

       a comedy parody because Reid and some of his cohorts stated Moore and his colleagues

       think they are the YouTube version of Law-and-Order SVU.

    27. The Defendant denies the allegations in Paragraph 27. Even the Plaintiff admits that this

       comedic skit is a knock off a popular television program. No rational thinking person will

       take this parody as being factual. Moore nor any of his colleagues has ever claimed to be

       a member of any special victims’ unit for YouTube or any other social media platform.

       The assertion is ludicrous.

    28. The Defendant denies the claims in Paragraph 28. At the start of Moore’s programs, A

       disclaimer is posted about Section 107 of the Fair Use Doctrine. If it is not posted, it is

       displayed during the show or stated verbally by Moore himself. Furthermore, the term

       “allegedly” is mentioned throughout the program. In some instances, the disclaimer is

       included in the body of the video description.

    29. The Defendant admits the portion of paragraph 29 is correct as to the lengths of Moore’s

       videos, and defendant Denies the interpretations of the remainder of the allegations.

    30. The Defendant denies the allegations in Paragraph 30.

    31. The Defendant denies the allegations in Paragraph 31. Moore has never stated as fact that

       Reid is a sexual predator.



4
    32. The Defendant denies the claims by the Plaintiff in Paragraph 32. Moore has repeatedly

       asserted that the accusers are the ones who state that Reid sexual violated them. It has

       never been stated as fact. Moore has stated his personal opinion. Moore has a right to his

       personal opinion. Moore has based his opinion off the statements of the accusers and

       prior actions of Reid. Moore does not view Reid as credible, and he is entitled to that

       opinion.

    33. The Defendant denies the allegations in Paragraph 33. The certified copy of the police

       report was obtained from the detective investigating the case.

    34. Defendant denies the allegations in Paragraph 34.

    35. The Defendant denies the allegations in Paragraph 35. Moore has frequently stated that

       information about Reid is “ALLEGED”. Moore has not stated Reid has been evicted.

       Moore has not stated that Reid was involved romantically with any woman except the

       one he said he is going to marry after he divorced his wife. The false information in

       Paragraph 35 is categorically denied.

    36. Moore denies the allegation in Paragraph 36.

    37. The Defendant denies the allegations in Paragraph 37. Moore has not stated that Reid had

       a romantic involvement with any woman in Tennessee. These false allegations are

       redundant. The accusers of Larry Reid are the ones that stated he likes to play mind

       games. The accusers stated he ran his church like a cult and would excommunicate

       anyone that failed to do what he liked.

    38. Moore confirms he interviewed three alleged victims of Larry Reid. The Defendant does

       not confirm or deny Larry Reid’s guilt.




5
    39. The Defendant denies the allegations of defamation in Paragraph 39. Moore never said

       Larry Reid is guilty of any crime. Moore repeatedly has stated that allegations have been

       made against Reid, accusers have come forth, a police report has been filed by one

       accuser, and there is an open investigation in Raleigh, NC.

    40. The Defendant denies the allegations in Paragraph 40. Moore at no time stated as fact that

       the Plaintiff committed child molestation or sexual assault. Moore stated that the accusers

       alleged that Reid sexually violated them. The accusers stated that Reid committed the

       acts. The key words used throughout the videos listed were: alleged, allegations, and

       accused. It was stated by Moore (more than once) that Reid has not been arrested,

       charged, or indicted.

    41. The Defendant denies the allegations in Paragraph 41. Moore has not published any

       videos threatening the life of Reid. Moore stated that Reid needs to stop lying and tell the

       truth. Moore never walked onto Reid’s property. This claim is erroneous and slanderous.

       Furthermore, Moore denies accessing the community illegally. The allegation that Moore

       said he would put Reid in financial ruin was stated out of context in Paragraph 41.

    42. Moore denies the allegations in Paragraph 42 and the proceeding paragraphs. Moore

       categorically denies acting with malice as it pertains to Reid. Moore denies intentionally

       making any false statements about Reid on any social media platform. The implication by

       Reid that Moore had the intent or desire to do evil towards him is completely false.

    43. The Defendant denies all allegations in Paragraph 43. Moore has no desire to physically

       harm Reid. The Plaintiff’s own actions and statements have damaged his reputation and

       potential earning potential. The assertation that Moore is responsible for Reid’s tarnished

       reputation are false. Reid is a public figure and as such he is subject to public scrutiny as



6
       any other public figure. Reid has opted to file a frivolous lawsuit against Moore for

       interviewing his accusers, but he is not suing his accusers.

    44. The Defendant denies that allegations set forth in Paragraph 44. Reid’s claims that he has

       suffered shame, humiliation, mental anguish, loss of enjoyment of life, public

       humiliation, loss of reputation generally and specifically in his trades and professions –

       the ministry and as an online commentator and religious figure are not due to any illegal

       or unethical actions by Moore. These issues are a direct result of Reid’s actions. Any loss

       of revenue or subscribers that Reid has suffered are due to alleged victims coming

       forward to tell their story, discussions about court documents regarding open lawsuits,

       playing audio and videos of the Plaintiff making damaging statements, as well as text

       messages and screen shots. Reid has damaged his own reputation and livelihood.




                                         -Count 1: Defamation-

    45. Defendant restates as if fully repeated here his denials of the allegations in Paragraphs 1

       through 44 of this Complaint above.

    46. The statements asserted by Reid in Paragraphs 32 through 43 are false. Moore has not

       made any false or defamatory statements about the Plaintiff. Reid’s reputation was

       already damaged by his own deeds. Reid has two open court cases in Fulton County,

       Georgia where he resides for slander, defamation, and libelous statements he has made

       against two ministers on his social media platforms. At no time has the Defendant

       intentionally communicated or published false statements or information to a third party.




7
    47. The Defendant denies the allegation in Paragraph 47. Moore played audio or video

       snippets of Reid’s program and offered commentary. This usage is protected under the

       First Amendment of the United States Constiution.

    48. The Defendant denies the allegations in Paragraph 48. As stated above, Moore’s

       commentary regarding Reid are based on court documents, statements made by the

       Plaintiff (on social media), text messages, screen shots, eyewitness statements, and web

       links.

    49. Moore denies the allegations in Paragraph 49. Reid’s character is called into question

       based on his prior actions as it relates to his open court cases, public statements that he

       has made, and allegations made by three victims involving moral turpitude. These actions

       and court cases impact his trade or profession.

    50. Defendant denies the allegations in Paragraph 50.

    51. The Defendant denies the allegations in Paragraph 51. Reid and his ex-wife discussed the

       abortion on his reality show “Reiding Thigs My Way”. Moore simply commented on

       what was already a matter of public record.

    52. Moore denies the allegations in Paragraph 52. The Defendant has not made any libelous

       statements about the Plaintiff. All statements made by Moore are based on documents,

       video, audio, web links, and eyewitness statements.

    53. The Defendant denies the allegations in Paragraph 53. The allegations summarized in

       Paragraphs 48 through 51 are false. Moore presented the information and discussed it.

       The Defendant did not offer his opinion as fact. Moore presented the information and

       allowed the viewers to formulate their own opinion.




8
    54. Moore vehemently denies the allegations in Paragraph 54. The Defendant did not

       maliciously publish any information about the Plaintiff as outlined in Paragraphs 32

       through 43. Reid is a public figure that is subject to public critique and examination.

    55. The Defendant denies the claim stated by the Plaintiff as outlined in Paragraphs 32

       through 44.

                              -Count II: False Light Invasion of Privacy-

    56. Defendant denies every allegation listed in Paragraphs 1 through 55 above of this

       Complaint.

    57. Defendant denies the allegations in Paragraph 57. Through his own actions and

       statements, Reid has cast himself in a negative light.

    58. Moore did not make false statements. The Defendant denies the allegations in Paragraph

       58. Moore interviewed three accusers of the Plaintiff. These individuals made the

       allegations.

    59. The Defendant agrees that Moore has a legal right to report on a public figure like the

       Plaintiff. Moore interviewed individuals who stated they were molested or fondled by the

       Plaintiff. Moore never stated that Reid was guilty of any crime. Moore made it clear to

       his viewers that these were allegations, Moore stated Reid has not been arrested, Reid has

       not been charged, and Reid has not been indicted.

    60. Moore denies the allegation in Paragraph 60. Reid has been cast into a negative light by

       his previous actions, statements, and allegations by accusers. Any damages suffered by

       Reid are a result of his own actions. The damages attributed to Moore in Paragraph 44 are

       false.

                            -Count III: Public Disclosure of Private Facts-



9
     61. Defendant restates as if fully repeated here his denials of the allegations in Paragraphs 1

        through 60 of this Complaint above.

     62. The Defendant denies this allegation in Paragraph 62. Any information discussed about

        Reid is a matter of public records, statements made by the Plaintiff, or eyewitness

        accounts of people who have interacted with Reid. The child molestation allegation is a

        matter of public record because a police report has been filed by one of his accusers.

     63. Moore denies the allegations in Paragraph 62. Moore has not made any private matters

        about Reid public. The Defendant has only discussed public information about Reid.

        Accusers allege that the incidents occurred in his private residences in North Carolina.

     64. Defendant denies the allegations in Paragraph 64. Information regarding Reid’s marriage

        and divorce are public due to the fact that he is a public figure. Furthermore, Reid has a

        reality show titled “Reiding Things My Way” that airs on social media where he and his

        ex-wife (along with his family and friends) all discuss intimate details of their private

        lives that would normally not be disclosed, except for the sake of ratings.

     65. Moore denies the allegations in Paragraph 65. The Defendant has not revealed any

        private facts about Reid. Reid is a self-proclaimed entertainer (gospel artist, reality show

        star) and as such does not get the same level of anonymity as a “private citizen”. It is the

        price he pays for fame and fortune. The claims in Paragraph 44 are false. Any “private”

        matter that is claimed by Reid was forfeited when he opened the door to his private life

        via his reality TV show. Furthermore, the allegations of sexual crimes combined with a

        police report opened the door for an examination of his “private” life even farther.

                                  -Count IV: Deceptive Trade Practices-




10
     66. Defendant restates as if fully repeated here his denials of the allegations in Paragraphs 1

        through 65 of this Complaint above.

     67. The Defendant denies the allegations in Paragraph 67 of Deceptive Trade Practices.

        Moore is a creator of vast social media content that is not exclusive to Reid. Reid became

        a key source of content after he alleged that Moore was plotting to kill him.

     68. Moore denies the claims listed in Paragraphs 32 through 43. The Defendant asserts that

        he has not disparaged Reid. Reid’s own deeds and statements have caused him harm in

        the public. Reid has lost some of his supporters because of deeds that he has attempted to

        conceal have been revealed via public records, videos by Reid, and eyewitness testimony

        about Reid.

     69. The Defendant denies the allegations stated in Paragraph 69.

     70. (6706) The Defendant denies the allegations set forth in this paragraph as it pertains to

        Paragraph 44 above.

                                           -Affirmative Defense-

As affirmative defenses, Defendant alleges, and states as follows:

     1. Plaintiff has falsely stated that the Defendant has plotted to murder him and threatened

        him with a firearm.

     2. Plaintiff has failed in whole or in part to state a claim upon which relief can be granted.

     3. Plaintiff has suffered no damages by Defendant.

     4. Plaintiff has suffered no injury by Defendant nor is there any likelihood of injury by

        Defendant.

     5. Plaintiff has suffered no harm and or irreparable harm by Defendant.

     6. Defendant denies accusing the Plaintiff of being a child molester.



11
     7. Defendant denies Deceptive Trade Practices outlined in ORC 4165.02 (A) and ORC

         4165.03 (B).

     8. Plaintiff has falsely claimed Defendant invaded his privacy.

     9. Defendant submits the statements made about plaintiff are true and he has confirmed and

         previously admit the truth of those statements.




                                               -Prayer for Relief-

     Having completely and fully provided his Answer to the Complaint, this Defendant therefore

     also denies Plaintiff’s prayers for relief.

     WHEREFORE, Defendant prays for relief as follows:

     1. The Complaint against Defendant be dismissed with prejudice

     2. The Defendant be awarded his reasonable attorney’s fees and cost in accordance with 28

         U.S.C. 1927: and

     3. That Defendant be awarded such other and further relief as the Court deems just and

         equitable.



                         DEFENDANT’S COUNTER CLAIM

     4. A false video placed online by Reid and his employees attempts to paint the narrative that

         Moore seeks to murder Reid.




12
     5. Moore filed a police report regard this false video and submitted it to YouTube. The

        video was viewed by approximately 8,000 people. YouTube removed the video last year,

        but it has since been posted again by the same employees of Reid on the Larry Reid Live

        LLC podcast.

     6. The employee is Davyon Augustus. Augustus in partnership with David Fennell and

        Andrea Garrison spliced audio and video of Moore from a prior show by Moore to make

        it appear that Moore in fact was threatening to murder Reid. Augustus and his cohorts

        went so far as to include audio that was not even Moore’s voice.

     7. Moore supplied YouTube with a link to the original video as evidence. The original

        videodid not threaten Reid, but it was used by Reid’s employees (Davyon Augustus) and

        included Andrea Garrison who helped them in creation of the bogus murder plot video.

     8. The original video was about Moore protecting himself and Jimmy Battles from being

        harmed while he was in Cleveland to be interviewed about the sexual assault, he alleged

        happened to him at the hands of Bishop George Bloomer when he was a teenager. Reid

        was never mentioned in that original video. Reid’s assertion that Moore was saying he

        would kill him are false.

     9. Moore is a licensed gun owner in Ohio. He stated this after Reid said he is armed. At no

        time has Moore ever stated that he will shoot or harm Reid.

     10. Moore said if Reid continues to lie about him plotting to murder him that he would file a

        civil lawsuit that would financially ruin him. Moore was not implying any violent acts

        against Reid.

     11. This false, criminal accusation was published by Larry Reid on his live broadcast and

        remains available on the “Larry Reid Live Channel “and maybe viewed after they first



13
        streamed it (see paragraph # 10 of Plaintiff’s Complaint) as well as Podcast and YouTube

        under the name of “Larry Reid Live L.L.C.”. Reid claims these videos reach more than

        100,000 subscribers and 7,900 Patreon subscribers. Reid claims to have made

        $100,000.00 monthly during the period he published this false defamatory and criminal

        accusation about Darryl Moore. (See paragraph # 2 and #14 of Plaintiff’s Complaint)

     12. Darryl Moore has and continues to suffer public rebuke, public humiliation, loss of acting

        roles, income and employment which decreased his income as a result of the slanderous

        “fake” videos claiming he threaten to shoot Larry Reid.




                               DEFAMATION INJURY

     13. The defendant, Mr. Moore, has suffered defamation of his reputation and public

        humiliation due to the false video threatening murder of Larry Reid created by Reid’s

        employees Davyon Augustus, David Fennell and Andrea Garrison.

     14. Mr. Moore brings this defamation action based on the slanderous video Reid and his
         employees, cohorts, fabricated to make it appear Mr. Moore was threating Reid with
         shooting him with a gun.

     15. The video is a fabrication made by splicing video and sound clips together to make it
         appear Mr. Moore threatened Reid with a gun. and the defendants made a false statement
         of fact.


     16. The falsified video depicts Mr. Moore as threatening to murder Larry Reid with a gun
         and illegally threatening physical harm to him with a deadly weapon.


     17. This video containing the false statements of Mr. Moore was defamatory and depicts Mr.

        Moore as a hostile person threatening physical harm in violation of the law.

14
     18. Defendant Reid with his employees, and cohorts created this false video from other

        videos of Mr. Moore and the false defamatory statement in this video was published by

        Mr. Reid airing and displaying the false video on live streaming and recorded programing

        on YouTube and his broadcast on “Larry Reid Live” which claims to have thousands of

        subscribers.



     19. Mr. Moore is an actor who has parts in shows for which he earns his living. The

        defamatory video has injured his reputation and his ability to be hired as an actor for

        shows. Over the last year this false video was airing and he loss income and possible

        parts in shows because of this defamatory video. The false video has affected the

        subscribers’ opinions and subscription rates and payment for his streaming podcast and

        the loss of viewers has caused substantial loss of income injuring this defendant.



     20. The great lengths to which this defendant, Reid went to create a false video depicting Mr.

        Moore with a gun saying threatening statements that he would cause illegal injury to Reid

        proves the malice and hatred towards Mr. Moore the defendant has toward Moore and

        that he will go to any lengths to discredit him on the air.



        Wherefore Mr. Darryl Moore prays for the following judgments and court decrees:

        I.      Demand for actual, compensatory damages in the amount of $250,000.00;

        II.     Demand for exemplary and punitive damages against Larry Reid, and “Larry Reid

                Live LLC., jointly and severally in the amount of $750,000.00.




15
     III.   Demand a declaratory judgment finding the video and accompanying statements

            are false and defamatory causing harm to Mr. Moore;

     IV.    Demand an injunction ordering the removal and an order for Reid, his employees,

            followers church members, associates and the other associates of defendant to halt

            and desist airing, playing, displaying in any medium or any publication of the

            false defamatory video he has created and possesses.

     V.     Demand judgment for applicable cost of suit and attorney fees;

     VI.    Demand for such other relief this Honorable Court can provide, and it deems just

            and equitable.




                                     Respectfully Submitted

                                     /s/ Fred Middleton

                                     Fred Middleton (0025555)
                                         Flegal124@gmail.com
                                     815 Superior Ave E.
                                     Suite 1325
                                     Cleveland, OH 44114
                                     Telephone: 216.566.8000

                                     Attorney for the Defendant




                                         -Jury Demand-




16
      The Defendant, Darryl Moore, pursuant to Fed. Civil Rule 38, hereby respectfully

      demands a trial by a jury comprised of the maximum number of jurors permitted by law

      on each Count so triable.

                                      Respectfully Submitted

                                      /s/ Fred Middleton

                                      Fred Middleton (0025555)
                                      Flegal124@gmail.com
                                      815 Superior Ave. E.
                                      Suite 1325
                                      Cleveland, OH 44114
                                      Telephone: 216.566.8000

                                      Attorney for the Defendant

                             CERTIFICATE OF S E R V I C E


      A copy of the herein filled Answer was served VIA Efile System upon
Raymond V. Vasvari, Jr. vasvari@vasvarilaw.com and K. Ann                        Zimmerman
zimmerman@vasvarilaw.com , this 29th            day August, 2021.


                                          /s/ Fred D. Middleton
                                          Fred D. Middleton
                                          Attorney for Defendant




17
